

Matter of Julie A. v Myron H. (2021 NY Slip Op 05069)





Matter of Julie A. v Myron H.


2021 NY Slip Op 05069


Decided on September 28, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: September 28, 2021

Before: Webber, J.P., Mazzarelli, González, Scarpulla, Pitt, JJ. 


Docket No. V19406-08/15 V26640-42/15 Appeal No. 14191 Case No. 2019-03588 

[*1]In the Matter of Julie A., Petitioner-Respondent,
vMyron H., Respondent-Appellant, Administration for Children's Services, Respondent-Respondent. 


Larry S. Bachner, New York, for appellant.
Jay A. Maller, New York, for respondent Julie A.
Dawne A. Mitchell, The Legal Aid Society, New York (Judith Stern of counsel), attorney for the children.



Order, Family Court, Bronx County (Valerie Pels, J.), entered on or about July 25, 2019, which awarded petitioner mother sole physical and legal custody of the subject children with supervised visitation by the father, unanimously affirmed, without costs.
Application by respondent father's assigned counsel to withdraw is granted (see Anders v California, 386 US 738 [1967]; People v Saunders, 52 AD2d 833 [1st Dept 1976]). A review of the record demonstrates that there are no nonfrivolous issues that could be raised on appeal. Moreover, the father consented to awarding the mother physical custody of the subject children and is therefore not aggrieved by that part of the order (see Matter of Mory F. v Hawa K.F., 193 AD3d 613 [1st Dept 2021]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: September 28, 2021








